            Case 23-56465-sms                      Doc 1            Filed 07/10/23 Entered 07/10/23 15:43:29 Desc
                                                                   Petition Page 1 of 10       Filed in U.S. Bankruptcy Court
                                                                                                                     Northern District of Georgia
                                                                                                                        Vania S. Allen, Clerk
    Fill in this information to identify your case:                                                                                 I 22
                                                                                                                                     1 0    2023
    United States Bankruptcy Court for the:
                                                                                                              By:
     Northern District of Georgia
                                              El                                                                              Deputy       ierk

     Case number    it known):                                         Chapter you are filing under:
                                                                       g1 Chapter 7
                                                                                                                                           0 Check if this is an
                                                                       U Chapter 11
                                                                                                                                              amended filing
                                                                       U Chapter 12
                                                                       U Chapter 13




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/22

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:     Identify Yourself

                                      About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name
                                      Calvin
     Write the name that is on your   First name                                                       First name
     government-issued picture
     identification (for example,
                                      Joseph
     your driver's license or         Middle name                                                      Middle name
     passport).                       Datrice
                                      Last name                                                        Last name
     Bring your picture
     identification to your meeting   Ill
     with the trustee.                Suffix (Sr., Jr., II, Ill)                                       Suffix (Sr., Jr., 11, Ill)


 2. All other names you
                                      Calvin
                                      First name                                                       First name
    have used in the last 8
    years                             Joseph
                                      Middle name                                                      Middle name
     Include your married or
                                      Datrice
     maiden names and any
                                      Last name                                                        Last name
     assumed, trade names and
     doing business as names.
                                      First name                                                       First name
     Do NOT list the name of any
     separate legal entity such as
                                      Middle name                                                      Middle name
     a corporation, partnership, or
     LLC that is not filing this
     petition.                        Last name                                                        Last name
                                      Datrice Inc
                                      Business name (if applicable)                                    Business name (if applicable)


                                      Business name Cif applicable)                                    Business name (if applicable)




 3. Only the last 4 digits of
                                      XXX      — xx—               2       6      4     4              XXX      — xx—
    your Social Security
    number or federal                 OR                                                               OR
    Individual Taxpayer
    Identification number             9 xx -        xx -                                               9 xx -        xx
    (ITIN)

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Debtor 1     Calvin       Joseph                  Datrice                                           Case number (if known)
             First Name   Middle Name              Last Name



                                        About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


 4. Your Employer                         8       8_ 2         1   1   1   6   7    8
    Identification Number               EIN                                                                 EIN
    (EIN), if any.

                                        EIN                                                                 EIN



 s. Where you live                                                                                          If Debtor 2 lives at a different address:


                                        150 Hutchinson St Ne
                                        Number          Street                                              Number           Street


                                        Unit 711

                                        Atlanta                                  Ga      30307
                                        City                                     State   ZIP Code           City                                     State     ZIP Code

                                        Dekalb
                                        County                                                              County

                                        If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                         any notices to this mailing address.



                                        Number          Street                                              Number           Street


                                        P.O. Box                                                            P.O. Box


                                        City                                     State   ZIP Code           City                                     State     ZIP Code




 6. Why you are choosing                Check one:                                                          Check one:
    this district to file for
                                        0 Over the last 180 days before filing this petition,               U      Over the last 180 days before filing this petition,
    bankruptcy
                                          I have lived in this district longer than in any                         I have lived in this district longer than in any
                                          other district.                                                          other district.

                                               I have another reason. Explain.                              U I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




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Debtor 1        Calvin       Joseph                 Datrice                                        Case number (if known)
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                           O Chapter 7
      under
                                           O Chapter 11

                                           O Chapter 12

                                           O Chapter 13


8. How you will pay the fee                0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                           O I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.    Have you filed for                   VZI No
      bankruptcy within the
      last 8 years?                        D Yes. District                                When                        Case number
                                                                                                  MM/ DD / YYYY

                                                     District                             When                        Case number
                                                                                                  MM/ DD / YYYY

                                                     District                             When                        Case number
                                                                                                  MM/ DD / YYYY




io. Are any bankruptcy                     O No
    cases pending or being
    filed by a spouse who is               1:1 Yes. Debtor                                                             Relationship to you
    not filing this case with                        District                              When                        Case number, if known
    you, or by a business                                                                         MM/DO / YYYY
    partner, or by an
    affiliate?
                                                     Debtor                                                            Relationship to you

                                                     District                             When                         Case number, if known
                                                                                                  MM / DD / YYYY



it Do you rent your                        lj No. Go to line 12.
   residence?                              O Yes. Has your landlord obtained an eviction judgment against you?

                                                     O No. Go to line 12.
                                                     O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                       part of this bankruptcy petition.




     Official Form 101                               Voluntary Petition for individuals Filing for Bankruptcy                                   page 3
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Debtor 1     Calvin         Joseph                  Datrice                                      Case number of known)
             First Name    Middle Name              Last Name




Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor            1:1 No. Go to Part 4.
    of any full- or part-time
    business?                            CA   Yes. Name and location of business
   A sole proprietorship is a                      Datrice Inc
   business you operate as an
                                                   Name of business, if any
   individual, and is not a
   separate legal entity such as
                                                   150 Hutchinson St ne
   a corporation, partnership, or
   LLC.                                            Number       Street

   If you have more than one                       Unit 711
   sole proprietorship, use a
   separate sheet and attach it                    Atlanta                                                Ga             30307
   to this petition.
                                                    City                                                  State          ZIP Code


                                                   Check the appropriate box to describe your business:

                                                   El Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                   El Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                   El Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   El Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                   VI None of the above


13. Are you filing under                 If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                    choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                 are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                         if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §                   No. I am not filing under Chapter 11.
    1182(1)?                             El No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                   the Bankruptcy Code.
    business debtor, see
                                         El Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
    11 U.S.C. § 101(510).
                                                 Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                         El Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




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Debtor 1      Calvin        Joseph                Datrice                                       Case number (fnnown)
              First Name    Middle Name           Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               kl No
     property that poses or is
     alleged to pose a threat             lj Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                    If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number        Street




                                                                             City                                      State   ZIP Code




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Debtor 1      Calvin         Joseph                 Datrice                                             Case number (dio,...)
             First Name     Middle Name             Last Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling


                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                 You must check one:                                                  You must check one:
    counseling.
                                          O I received a briefing from an approved credit                      LI I received a briefing from an approved credit
                                            counseling agency within the 180 days before I                        counseling agency within the 180 days before I
   The law requires that you                filed this bankruptcy petition, and I received a                      filed this bankruptcy petition, and I received a
   receive a briefing about credit          certificate of completion.                                            certificate of completion.
   counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you
   cannot do so, you are not
                                          •   I received a briefing from an approved credit                    D I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   eligible to file.                          filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                           certificate of completion.
   If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                              plan, if any.                                                        plan, if any.
   you paid, and your creditors
   can begin collection activities        Li I certify that I asked for credit counseling                      LI I certify that I asked for credit counseling
   again.                                    services from an approved agency, but was                             services from an approved agency, but was
                                             unable to obtain those services during the 7                          unable to obtain those services during the 7
                                             days after I made my request, and exigent                             days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                         circumstances merit a 30-day temporary waiver
                                             of the requirement.                                                   of the requirement.
                                              To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                              required you to file this case.                                      required you to file this case.
                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                          LI I am not required to receive a briefing about                     LI I am not required to receive a briefing about
                                             credit counseling because of:                                        credit counseling because of:

                                              L i Incapacity.    I have a mental illness or a mental               Li Incapacity.     I have a mental illness or a mental
                                                                 deficiency that makes me                                             deficiency that makes me
                                                                 incapable of realizing or making                                     incapable of realizing or making
                                                                 rational decisions about finances.                                   rational decisions about finances.
                                              LI Disability.     My physical disability causes me                  0 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                     to be unable to participate in a
                                                                 briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                 through the internet, even after I                                   through the Internet, even after I
                                                                 reasonably tried to do so.                                           reasonably tried to do so.
                                              L I Active duty. I am currently on active military                   D Active duty.     I am currently on active military
                                                               duty in a military combat zone.                                        duty in a military combat zone.
                                              If you believe you are not required to receive a                     If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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Debtor 1      Calvin       Joseph                     Datrice                                          Case number 0/knowo
             First Name    Middle Name                Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                               CI    No. Go to line 16b.
                                               0     Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                               CI    No. Go to line 16c.
                                               CI    Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                           CI   No. I am not filing under Chapter 7. Go to line 18.

   Do you estimate that after 0               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                                      0    No
   administrative expenses
   are paid that funds will be                       CI   Yes
   available for distribution
   to unsecured creditors?

18. How many creditors do                0    1-49                                  CI 1,000-5,000                           0 25,001-50,000
    you estimate that you                CI 50-99                                   CI 5,001-10,000                          CI 50,001-100,000
    owe?                                 CI 100-199                                 CI 10,001-25,000                         CI More than 100,000
                                         CI 200-999
19. How much do you                           $0-$50,000                            Li $1,000,001-$10 million                Li $500,000,001-$1 billion
    estimate your assets to              Li $50,001-$100,000                        Li $10,000,001-$50 million               Li $1,000,000,001-$10 billion
    be worth?                            Li $100,001-$500,000                       Li $50,000,001-$100 million              Li $10,000,000,001-$50 billion
                                         Li $500,001-$1 million                        $100,000,001-$500 million             CI More than $50 billion
20. How much do you                      Li $0-$50,000                              Li $1,000,001-$10 million                Li $500,000,001-$1 billion
    estimate your liabilities                 $50,001-$100,000                      Li $10,000,001-$50 million               Li $1,000,000,001-$10 billion
    to be?                               Li   $100,001-$500,000                     Li $50,000,001-$100 million              Li $10,000,000,001-$50 billion
                                         Li   $500,001-$1 million                   1:1 $100,000,001-$500 million            CI More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                         X Calvin Joseph Datrice
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                              Executed on         07/07/2023                                  Executed on
                                                                  MM   / DD /YYYY                                            MM / DD    /YYYY


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Debtor 1    Calvin       Joseph                  Datrice                                          Case number (if known)
            First Name   Middle Name             Last Name




                                       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are          to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                       the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented             knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                           Date
                                          Signature of Attorney for Debtor                                                 MM    /    DD / YYYY




                                          Printed name


                                          Firm name


                                          Number      Street




                                          City                                                             State           ZIP Code




                                          Contact phone                                                    Email address




                                          Bar number                                                       State




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Debtor 1    Calvin       Joseph                   Datrice                                      Case number (if kr,owo
            First Name   Middle Name              Last Name




For you if you are filing this             The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                      should understand that many people find it extremely difficult to represent
attorney                                   themselves successfully. Because bankruptcy has long-term financial and legal
                                           consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                    To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                    technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                           firm if your case is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections, including the benefit of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                           If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                           be familiar with any state exemption laws that apply.

                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                           1:1 No
                                               Yes

                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                           CI No
                                           121 Yes

                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           I21 No
                                               Yes. Name of Person
                                                    Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                           have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                           attorney may cause me to lose my rights or property if I do not properly handle the case.


                                       X    Calvin Joseph Datrice
                                            Signature of Debtor 1                                        Signature of Debtor 2

                                           Date               07/07/2023                                 Date
                                                              MM/DD   / YYYY                                              MM/    DD / YYYY

                                           Contact phone      (832) 768-4630                             Contact phone

                                           Cell phone         (832) 768-4630                             Cell phone

                                           Email address      cdatrice@gmail.com                         Email address



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Case Number: 23-56465                           Name: Datrice                             Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/banlcruptcy/filing-without-attorney.

Z Individual - Series 100 Forms                                                          11 Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 ▪ Pro Se Affidavit (signature must be notarized,                                        0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                     O Statistical Estimates
 LI Signed Statement of SSN                                                              O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
    Statement of Financial Affairs                                                                     Case filed via:
El Schedules: A/BCDE/FGHIJO J-2 (separate household of Debtor 2)                   0 Intake Counter by:
                                                                                       E Attorney
IX] Summary of Assets and Liabilities
                                                                                       E Debtor
El Declaration About Debtor(s) Schedules
E Attorney Disclosure of Compensation                                                  O Other:
O Petition Preparer's Notice, Declaration and Signature (Form 119)                 0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                         0 Attorney
O Chapter 13 Current Monthly Income                                                   O Debtor
El Chapter 7 Current Monthly Income                                                   LI Other: 832-768-4630
LI Chapter 11 Current Monthly Income
E Certificate of Credit Counseling (Individuals only)                              El Email [Pursuant to General Order 45-2021, this petition
x Pay Advices (Individuals only) (2 Months)
E                                                                                  was received for filing via email]
El Chapter 13 Plan, complete with signatures (local form)
O Corporate Resolution (Non-Individual Ch. 7 & 11)                                               History of Case Association
                                                                                   Prior cases within 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
Z Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Ch.11 Business                                                                     Acknowledgment of receipt of Deficiency Notice
El 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                    Intake Clerk:     R.Smith        ID Verified M Date:7/10/23
LI Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      LII Paid $
       E Pending Pay.Gov, Paid $
       LII IFP filed (Ch.7 Individuals Only)
       LII 2g-Order Granting        0 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
          2d-Order Denying with filing fee of $                 due within 10 days
       [E] No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
